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 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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11   MICHAEL PETERSEN,             )          NO. ED CV 21-849-ODW(E)
                                   )
12             Plaintiff,          )
                                   )
13        v.                       )          ORDER ACCEPTING FINDINGS,
                                   )
14   ROB BONTA, ATTORNEY GENERAL   )          CONCLUSIONS AND RECOMMENDATIONS
     FOR THE STATE OF CALIFORNIA, )
15   ET AL.,                       )          OF UNITED STATES MAGISTRATE JUDGE
               Defendants.         )
16   ______________________________)
17

18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the
19   Complaint, all of the records herein and the attached Report and
20   Recommendation of United States Magistrate Judge.          Further, the Court
21   has engaged in a de novo review of those portions of the Report and
22   Recommendation to which any objections have been made.           The Court
23   accepts and adopts the Magistrate Judge’s Report and Recommendation.
24

25         IT IS ORDERED that Judgment shall be entered dismissing the
26   action without prejudice.
27   ///
28   ///
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 1         IT IS FURTHER ORDERED that the Clerk serve forthwith a copy of

 2   this Order and the Judgment of this date on Plaintiff and counsel for

 3   Defendant.

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 5               DATED: November 9, 2021.

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                                                     OTIS D. WRIGHT II
 9                                             UNITED STATES DISTRICT JUDGE

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